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                                 UNITED STATES DISSTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

    NUVASIVE, INC.,                                 )
                                                    )
                   Plaintiff,                       )
    v.                                              )   Civil Case No. 6:17-cv-2206-0rl-41GJK
                                                    )
    ABSOLUTE MEDICAL, LLC, GREG                     )
    SOUFLERIS, and DAVE HAWLEY,                     )
                                                    )
                   Defendants.                      )
                                                    )

         DEFENDANTABSOLUTE MEDICAL, LLC'S RESPONSE TO PLAINTIFF'S FIRST
                          SET OF INTERROGATORIES

                                  I.   PRELIMINARYSTATEMENT

            Pursuant to rule 45(c)(2)(B) of the Federal Rules of Civil Procedure (the "Federal

    Rules"), ABSOLUTE MEDICAL, LLC ("Defendant") hereby responds and objects to the

    Interrogatories dated April 6, 2018, served upon it by NUVASIVE, INC ("Plaintiff') (the

    "Interrogatories"), as follows:

            Defendant has conducted a diligent search and reasonable inquiry in response to the

    Interrogatories. However, Defendant has not completed its investigation of the facts related to

    this case, has not completed discovery in this Action, and has not completed its preparation for

    any trial that might be held herein. Its responses and objections to the Interrogatories are based

    upon information currently known to Defendant and are given without prejudice to Defendant's

    right to revise, correct, supplement, add to, amend, or clarify its responses and/or objections to

    the Interrogatories when and if additional information or d.ocumentation comes to its attention.

    Moreover, Defendant expressly reserves the right to make use of, or introduce at any hearing or




                                                                                                 EXHIBIT

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    trial, documents or facts not known to exist at the time of production, including, without

    limitation, documents obtained in the course of discovery in this Action.

            Defendant's Responses and Objections to the Interrogatories or its production of any

    documents shall not be construed as: (i) an admission as to the relevance, admissibility, or

    materiality of any such documents or their subject matter;. (ii) a waiver or abridgment of any

    applicable privilege; or (iii) an agreement that requests for similar documents will be treated

    similarly.

            Further, Defendant reserves all of its rights, including its right to supplement, amend, or

    correct any of its Responses and Objections to the Interrogatories and its right to object to       th~


    admissibility of any part of any document produced in response to any Request or information

    contained in any such document.

                                      II.   GENERAL OBJECTIONS


            Without in any way limiting the Preliminary Statement set forth above, Defendant asserts

    the following general objections:

          1.        Defendant objects to the Interrogatories in its entirety to the extent that it is

    overbroad or purports to impose obligations upon it that exceed those set forth in Federal

    Rules 26, 34 and 45, the Case Management Order entered in this case, or any other

    applicable statute, rule, or order.

          2.        Defendant objects to the. Interrogatories in its entirety to the extent that it

    purports to call for the disclosure of information, or the production of documents, that are

    subject to the attorney work product protection, the attorney-client privilege, or any other

    applicable privilege, including privileged information or documents shared with entities with

    which Defendant holds or held a common interest.
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              3.       Defendant asserts such privileges and objects to the provision of information

        or production of any documents subject thereto. To the extent that any production of

        documents or information is made, any inadvertent production of such privileged documents

        or information in response to the Interrogatories would not be intended to constitute a

        waiver of any applicable privilege or protection. Defendant demands that Plaintiff, its agents

        and attorneys notify Defendant's undersigned counsel of the production of any such

        documents immediately upon discovery of such documents, and return such documents to

        such undersigned counsel upon request.

              4.       Defendant objects to the Interrogatories in its· entirety to the extent it purports

        to call for the disclosure of information, or the production of documents, that are part of a

        category of documents subject to the attorney work product protection, the attorney-client
(
        privilege, or any other applicable privilege, including privileged information or documents

        shared with parties for whom Defendant serves in an distributor capacity.

              5.       Defendant objects to the Interrogatories in its entirety to the extent that it

        purports to require the production of documents that are not in its possession, custody, or

        control.

              6.       No Objection or limitation, or lack thereof, or statement that Defendant will

        produce documents made these Responses and Objections constitutes an admission as to the

        existence or nonexistence of documents or information by Defendant.

              7.        Defendant objects to the Interrogatories in its entirety to the extent that it is

        vague ambiguous confusing, and contrary to the plain meaning of the terns involved.
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          8.       Defendant objects to the Interrogatories in its entirety to the extent that it

    purports to call for the disclosure of information, or the production of documents, that are

    subject to the terms of the Case Management Order.

          9.       Defendant objects to the Interrogatories in its entirety to the extent that it is

    outside the scope of this action and has no relation to the claims and defenses raised in this

    litigation, and thus not proportional to the needs of the case, or the production of such

    constitutes material protected from disclosure pursuant to the Case Management Order.

          10.        Defendant objects to the Interrogatories in its entirety to the extent entirety

    to the extent that it calls for the document-by-document identification within thirty days of

    service of the Interrogatories of those documents that are protected by the attorney-client

    privilege, common interest privilege, and work product protection as seeking to impose

    obligations beyond the scope of Federal Rules 26, 34 and 45, and beyond the scope of the

    Case Management Order entered in this case. Given the number of documents subject to

    review by Defendant further objects on the grounds that such an instruction is unduly

    burdensome.

          11.        Defendant objects to the Interrogatories in its entirety to the extent that (a)

    the discovery sought by any Request is unreasonably cumulative or duplicative, or is

    obtainable from another source that is more convenient, less burdensome, or less

    expensive; (b) the requested documents were previously produced and are currently located

    in the Document Depository; (c) Aurelius has obtained the material sought by any request

    or demand in any other proceeding or pursuant to any other means;(d) the documents are a

    matter of public record or could be obtained from Aurelius or its counsel's files; or (e) the

    burden or expense of any demand outweighs its likely benefit.
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          12.        Defendant objects to the Interrogatories in its entirety to the extent that it

    calls for information from Defendant in a capacity other than Defendant's capacity as

    distributor, and/or seeks discovery as to the ordinary-course business relationships between

    any party and Defendant or any entity related to Defendant.

          13.        Defendant objects to the term "any and "all" as used throughout the

    Interrogatories as overly broad and unduly burdensome. Defendant will make a good faith,

    reasonable, and diligent effort to locate responsive documents and information consistent

    with any General or Specific Objections. In searching for documents and information,

    Defendant will conduct a thorough and reasonable search for its records kept in the ordinary

    course of business, where information, documents or other things responsive to this

    discovery are most likely to be found. Defendant has also sought information from those

    persons who are most likely to know of information or documents or other things responsive

    to the Interrogatories. To the extent the Interrogatories asks for more and seeks documents

    or information that is not reasonably accessible because they c.annot be retrieved, or

    produced without undue burden or cost, such as backup tapes intended for disaster recovery,

    Defendant objects because the discovery is overly broad and unduly burdensome.


                                  RESPONSES AND OBJECTIONS

    1.   Please identify all of your Employees and/or independent contractors since January 1, 2017,
         by stating:
         (a) the individual's·name;
         (b) the individual's address;
         (c) the individual's start and termination dates;
         (d) the individual's job responsibilities;
         (e) whether the individual was or is subject to a non-compete agreement; and
         (f) if the individual was or is not subject to a non-compete agreement, please state why
               you did not require him or her to sign such an agreement as a condition of his or her
               employment.
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      RESPONSE: In response to this interrogatory, Defendant directs Plaintiff to view the
      chart below. In further response to this interrogatory, specifically subsections (e) and (f),
      several individuals objected to signing non-compete agreements and other non-compete
      agreements were never finalized by the parties.

           Name                 Address            Start Date   Termination      Job Responsibilities
                                                                   Date
Brandon Gottstein (BG    1187 Newberg Ct.,                                     Field Support
Medical, LLC)            Sanford, FL 32771         4/18/2016    11/30/2017     Representative
Brennan Burkhart         1016 Malone Dr.,
(Landis Burner, LLC)     Orlando, FL 32810         6/7/2016     11/30/2017     Sales Representative
Casey Camero (Triple     737 Lagoon Dr., North
C Medical Corp)          Palm Beach, FL 33408      3/1/2013     6/30/2017      Sales Representative
Christpher Schultz       12216 165th Rd. N.,
(CM Schultz, Inc.)       Jupiter, FL 33478         3/1/2013     5/31/2017      Sales Representative
David Hawley (Hawley     3004 Sherwood Road,
Med, LLC.)               Orlando, FL 32803         3/1/2013     11/30/2017     Sales Representative
                         803 Promenade Way
Evan Menjivar (Evan      Apt. 305, Jupiter, FL                                 Field Support
Meniivar, Inc.)          33458                     7/1/2016     6/30/2017      Representative
Matthew Camero
(Camero Medical          17296 SW Galway Ct.,
Enterprises)             Tequesta, FL 33469        3/1/2013     6/30/2017      Sales Representative
Ryan Miller (Miller      100 Maplewood Dr.,
Time Medical, Inc.)      Sanford, FL 32771         3/1/2013     11/30/2017     Sales Representative
Thad Bragulla (Cold
Mountain Medical,        1233 Wellington Terr.,
LLC.)                    Maitland, FL 32751        10/24/2016   11/30/2017     Sales Representative
Daneri Edelson (
Edelson Electric,        6613 Stratford Dr.,
LLC.)                    Parkland, FL 33067        5/20/2013    11/30/2017     Administrative
Hanna Maxwell
(Balzano Clinical        1305 Oak Harbour Lane,
Specialist, LLC.)        Malabar, FL 32950         311/2013     6/30/2017      Physician's Assistant
Kevin Kingsley (Mid      605 Evening Sky Drive,
Florida Medical Sales)   Oviedo, FL 32765          3/1/2013     11/30/2017     Physician's Assistant
Bradley Seltmann         215 5 Mohawk Trail
(Brainbox Consulting)    Maitland, FL 32751        3il/2013     11/30/2017     Physician's Assistant



      2.  Please identify all facts which support your denial of paragraph 25 of NuVasive' s
          Complaint for Injunctive Relief and Damages.
      RESPONSE: The restrictive covenants referenced in paragraph 25 of NuVasive's
      complaint are not reasonable in temporal and geographical restrictions.
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    3.   Please identify all sales you have made in calendar years 2017 and 2018 by stating:
          (a) the date of the sale;
          (b) the product(s) sold;
          (c) the purchaser of the product(s);
          (d) the manufacturer of the product(s);
          (e) the surgeon who implanted the product(s); and
          (t) the total price of the sale.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, irrelevant and not reasonably specific as it requests information for "all
    sales" in 2017 and 2018. Additionally, Plaintiff already has this information in its
    possession; Defendant is not in possession of the information requested. Further,
    Defendant has made no sales in the year 2018. Notwithstanding said objections, pursuant
    to Fed. R. Civ. P. 33(d), Defendant directs Plaintiff to view the Commissions Chart
    attached hereto as Exhibit "A."

    4.    Please identify all bank accounts you maintained in calendar years 2017 and 2018.
    RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
    to discover information that is irrelevant and outside the scope of this action as it has no
    relation to the claims and defenses raised in this litigation, and thus not proportional to the
    needs of the case.

    5.    Please identify all disbursements you made to Soufleris and/or a business entity created
          and/or controlled by Soufleris in calendar years 2017 and 2018 by identifying:
          (a) the date of the disbursement;
          (b) the amount of the disbursement; and
          (c) person or entity to whom you made the disbursement.
    RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
    to discover information that is irrelevant and outside the scope of this action as it has no
    relation to the claims and defenses raised in this litigation, and thus not proportional to the
    needs of the case.

    6.   Please identify all financial reporting software (e.g., QuickBooks) that you utilized in
         calendar years 2017 and 2018.
    RESPONSE: Defendant utilized Quickbooks as a financial reporting software in 2017 and
    2018, prior to its dissolution.

    7.   Please identify all physicians and/or medical facilities within your current sales territory or
         territories.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, irrelevant and not reasonably specific as it requests "all physicians and/
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    or medical facilities" and Plaintiff has failed to define "sales territory." Notwithstanding
    said objections, Defendant currently has no sales territory.

    8.    Please refer to the Agreement, and identify every act you took to comply with Section
          5.09(a) of the Agreement.
    RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
    to discover information that is irrelevant and outside the scope of this action as it has no
    relation to the claims and defenses raised in this litigation, and thus not proportional to the
    needs of the case.

    9.   Please refer to Exhibit A to NuVasive's Complaint for Injunctive Relief and Damages and
         the Agreement, and identify every provision in the Agreement that allows you to "resign"
         from the Agreement.
    RESPONSE: Section 9.02 of the Sales Agreement allows Defendant to terminate the
    agreement due to a material breach.

    10.  If you contend NuVasive breached one or more of the allegations imposed on it by the
         Agreement, please state:
         (a) the date of the breach;
         (b) the contractual provision that NuVasive breached; and
         (c) a detailed summary of the breach.
    RESPONSE: Plaintiff breached Article II of the Sales Agreement by failing to pay
    commissions due and owing to Defendant for November 2017 and any subsequent sales.
    Defendant suffered damages in the amount of $124,970.02 for Plaintiff's failure to pay
    earned commissions. Pursuant to Fed. R. Civ. P. 33(d), Defendant directs Plaintiff to view
    the Commissions Chart attached hereto as Exhibit "A." ·

    11.   Have you ever shipped, mailed, or otherwise transferred surgical instruments to Alphatec
          that were not created by Alphatec? If so, please state:
                (a) The date you shipped, mailed or otherwise transferred the surgical instruments to
                    Alphatec;
                (b) The types of surgical instruments that you shipped, mailed, or otherwise
                    transferred to Alphatec; and
                (c) The manufacturer of the surgical instruments you shopped, mailed, or otherwise
                    transferred to Alphatec
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, irrelevant and seeks to discover information that is outside the scope of
    this action as it has no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Notwithstanding said objections, Defendant has
    never shipped, mailed, or otherwise transferred NuVasive surgical instruments Alphatec.
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        12. Please identify every surgeon in your Alphatec sales territory who is a party to a
            consulting, design, or other contractual relationship 'Yith Alphatec.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and seeks to information that is outside the scope of this action as it has
    no relation to the claims and defenses raised in this litigation, and thus not proportional to
    the needs of the case. Further, Defendant cannot answer this question on behalf of
    Alphatec, who is not a party to this litigation.

        13. Please describe the first act you took for Alphatec's ~enefit by describing:
                a. The date of the act; and
                b. A detailed description of the act.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, irrelevant and seeks to discover information that is outside the scope of
    this action as it has no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Specifically, Plaintiff has not defined "last act"
    and Defendant is unclear as to the meaning on this interrogatory. Notwithstanding said
    objections, Defendant has not intentionally taken any act for Alphatec's benefit.

        14. Please describe the last act you took for NuVasive's benefit by describing:
                a. The date of the act; and
               b. A detailed description of the act.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, irrelevant and seeks to discover information that is outside the scope of
    this action as it has no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Specifically, Plaintiff has not defined "last act"
    and Defendant is unclear as to the meaning on this interrogatory. Notwithstanding said
    objections, the last sale that Defendant made for NuVasive was on December 3, 2017.

        15. Please identify all contracts or other agreements to which you are a party.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, irrelevant and seeks to discover information that is outside the scope of
    this action as it has no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Notwithstanding said objections, Defendant is not
    a party to any other contracts or agreements.
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                                                      VEIUFICATION

     Under penalty of perjury, I. de~lare that I have read the foregoing, and the facts alleged therein
     are true and correct to the best of my knowledge and belief.                           ,

                                                     ~SOLUTE MEDICAL,      LLC



                                                     B~s . · • ·
                                                     Greg Soufieris
                                                     Title:   ftt~ZP~


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                                  CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on May 11, 2018, that I electronically transmitted a true copy
     to:

               Diana N. Evans, Esquire
               Bradley Arant Boult Cummings LLP
               100 North Tampa Street, Suite 2200
               Tampa, Florida 33602
               dnevans@Bradley.com
               Attorney for Nuvasive

               Christopher W. Cardwell, Esquire
               Pro Hae Vice
               Gullett, Sanford, Robinson & Martin, PLLC
               150 Third A venue South, Suite 1700
               Nashville, TN 37201
               ccardwell@gsrm.com
               Attorney for Nuvasive

               Thomas McFarland, Esquire
               Pro Hae Vice
               Gullett, Sanford, Robinson & Martin, PLLC
               150 Third Avenue South, Suite 1700
               Nashville, TN 37201
               tmcfarland@gsm1.com
               Attorney for Nuvasive



                                                            Respectfully,

                                                            Isl Chantal M Pillay
                                                            Chantal M. Pillay
                                                            Fla. Bar No. 108369
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                               EXHIBIT A
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    Hardware




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                       Central FL Reg     Or. Rodas
                       Florida Hospital   Or. Sawin      6,250.00
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    Dave Hawley    11/20/2017       Florida Hospital     Dr.Sawin    s.    19,937.00
    Dave Hawley    11/21/2017       Florida Hospltal   · Or. Sawin   s      9,240.00
    Dave Hawle     11/21/2017       Florida Hos ital     Dr. Sawin   s     13,865.00
    Dave Hawley    11/21/2017       Florida Hospltal     Dr. Sawin   $     12,200.00
     Ryan Miller   11/22/2017       Central FL Reg     Dr.Allende    s      6,040.00
     Ryan Miller   11/22/2017       Central FL Reg       Dr. Burry   s     14,720.00
    Dave Hawley    11/22/2017       Florida Hospital     Dr. Sawin   s      9,950.00
    Dave Hawley       11/23/2017    Florrda Hospital     Dr. Sawin   $      4,090.00
    Ryan Miller    11/27/2017       Central FL Reg      Dr.Allende   s      6,040.00
    Dave Hawley    11/27/2017       Florida Hospital    disposable   $      4,230.00
    Dave Hawley    11/27/2017       Florida Hospital    disposable   s.     2,234.00
     Ryan Mlller   11/28/2017        rla ndo Reglona      Dr.Goll    $     12,860.00
    Dave Hawley       11/28/2017    Florida Hos Ital     Dr. Rosen   $     19,900.00
    Dave Hawley       11/28/2017    Florida Hospital     Dr. Sawin   s     18,550.00
    Dave Hawley       11/28/2017    Florida Hospital     Or. Sawin   $      9,050.00
    Dave Hawley    11/29/2017       Florida Hospital    disposable   $      2,450.00

(
    Dave Hawley    11/29/2017       Florida Hos Ital    disposable   s      2,115.00
    Dave Hawley    11/29/2017       Florida Hospital    disposable   $      3,768.00
    Dave Hawley    11/29/2017       Florida Hospital    disposable   $      3,347.00
    Dave Hawley    11/30/2017       Florida Hospltal    disposable   $      1,937.00
     Ryan Miller    12/3/2017       Central FL Reg      Dr.Allende   $.     7,105.00
     Ryan Miller   12/4/2017        central FL Reg      Dr.Allende   $      2,160.00
    Dave Hawley        11/28/2018   Florida Hospltal     Dr. Rosen   s     20,175.00
    Dave Hawley        11/28/2018   Florida Hospital     Dr. Sawin   $      9,240.00
                                                                     $    468,328.10
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Blologlcs




           Summary·   Revenue   Commissions

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